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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

Mike Ortiz and Shelly Carnes, individually and                          1:23-cv-00097
on behalf of all others similarly situated,
                                    Plaintiffs,                    Hon. Mary M. Rowland

                      - against -

Sazerac Company, Inc.,

                             NOTICE OF VOLUNTARY DISMISSAL

         Plaintiffs give notice that this action is voluntarily dismissed. Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated:        May 19, 2023
                                                             Respectfully submitted,

                                                             /s/Spencer Sheehan
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